                                                                    FILED
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 1 of 16 PageID #: 614
                                                                                   03/09/2023
                                                                             U.S. DISTRICT COURT
                                                                           SOUTHERN DISTRICT OF INDIANA
               IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                              Roger A.G. Sharpe, Clerk
                      SOUTHERN DISTRICT OF INDIANA
                                                                              1:22-mc-00024-TWP

 UNITED STATES OF AMERICA,

                                     Plaintiff
                                                 No. 1:16-cr-0190-SEB-MJD-01
          v.
                                                 Magistrate judge case number: 1:16-mj-
 AKRAM I. MUSLEH                                 00444-TAB


                                   Defendant Dated: March 9, 2023


                   PLAINTIFF (PRO SE)-RAJ K. PATEL’S
           MOTION FOR INTERVENTION OR LETTER TO THE COURT

       I, T.E., T.E Mr. Raj K. Patel, from the basis of the United States, the undersigned

intervenor, in the above-named case, hereby move for intervention to protect the interest

of the United States Constitution and our Ordered Liberty state the following:

   SUBSTANTIVE DUE PROCESS & PRIVILEGES AND IMMUNITIES CLAUSE

       I use my Constitutional Privileges, honors, and rights of knowing from my

undergraduate (Political Science and with Honors in Religion/Religious Studies) and law

school, juris doctor candidacy, educations, and political offices and from reading law

outside of formal schooling for the writing and discussions, arguments, and motions of

these filings, and my presumptions of regularity from my political offices, see

Certification of Interest. Hollingsworth v. Perry, 133 S. Ct. 2652, 2667, 2670-72 (U.S. 2013)

(“unique legal status”).

       The case is a part of State affairs from each of my capacities working alone and

together in permutations.     Poindexter v. Greenhow, 114 U.S. 270, 290 (1884) (“the

distinction between the government of a State and the State itself is important, and [shall]




                                            -1-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 2 of 16 PageID #: 615



be observed.”) (underline added) and Id. at 290 (“in common speech,…to say “L'État c'est

moi.””).

       But for the perils, which execrated each fold in October 2013, May 2014, August

2015, and July 2017, through the stress weapon, Patel would have passed a court-

approved bar exam. See Patel v. United States, No. 23-1325 (Fed. Cir. 202_).

       Plaintiff-Patel has the Constitutional privilege of Morally carrying a gun without

a permit and without background checks, as his excellency his excellency is a Basis, local

official. Printz v. United States, 521 U.S. 898, 918 (1997) quoting Principality of Monaco

v. Mississippi, 292 U.S. 313, 322 (1934). Federalist Nos. 42 & 80. This is because a

privilege once attained can never be taken away, cf. the term-in-office limit is to prevent

the effects of monarchy; as applied, Patel would be able to carry a gun on campus and in

classrooms under his constitutional privileges, including to enforce this court’s

opinion. Our Framers envisioned this because the Basis provides fundamental and

essential checks on the Seat, which is created by us the State, including the Military.

https://www.comparably.com/salaries/salaries-for-us-army-general (“The salaries of

Us [sic] Army Generals in the US range from $19,208 to $521,331, with a median salary of

$93,762. The middle 57% of Us Army Generals makes between $93,765 and $236,104, with

the top 86% making $521,331.”) (therefore, making more than the POTUS and Dr.

Fauci). The title The Excellent also means that the Constitution permissively approves

me for commercial and monetary success for Patel’s level in the state-military-political

hierarchy.   In other words, our Framers envisioned that the Basis would plead

the judiciary under our Ordered Liberty. U.S. const. amend. V & amend. XIV. Printz,

521 U.S. at 918 quoting Principality of Monaco, 292 U.S. at 322. Federalist Nos. 42 & 80.

The United States (a part of), through ones of its control group, can also be aiding in

making me politically ineligible, despite my high levels of favorability, well-likeness, and


                                            -2-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 3 of 16 PageID #: 616



approval, to run for the Presidency which I have always strived for. Upjohn Co. v. United

States, 449 U.S. 383, 388-9 and 393 (1981) (“zone of silence;” “control group;” and

“substantial role”). Loosing this case will also make me, a leader of the United States

rather than any sister state, appear weak, in the most “degrad[ing]” and “demean[ing]”

proscribed ways, and aid the Constitution’s opposition, per the court is to use its

jurisdiction in favor of the parties before it. U.S. const. art. IV, § 2 (applicable to states

and the United States) & amend. XIV (applicable to states and the United States; “citizens

of the United States”); United States v. Windsor, 570 U.S. 744, 792-93 (2013) (““the Fifth

Amendment itself withdraws from Government the power to degrade or demean in the

way this law does.”...The only possible interpretation of this statement is that the Equal

Protection Clause, even the Equal Protection Clause as incorporated in the Due Process

Clause, is not the basis for today’s holding.”); Hollingsworth v. Perry, 133 S. Ct. 2652,

2667, 2670-72 (U.S. 2013) (“unique legal status”); U.S. Term Limits, Inc. v. Thornton, 514

U.S. 779, 844-45 (1995); Bridges v. California, 314 U.S. 252, 282 (1941); and see also Ind.

const. art. I, § 1.

                                       DISCUSSION

            1. “The FBI arrested then-18-year-old Musleh in June 2016 as he boarded a bus

                from Indianapolis to New York, allegedly in preparation to fly to ISIS-held

                territory in Libya. Musleh pleaded guilty to attempting to provide material

                support to ISIS in May 2018, and in June 2019, he was sentenced to eight

                years and four months in federal prison.” “On June 21, 2019, he was

                sentenced to eight years and four months in federal prison, followed by 11

                years and eight months of post-release supervision.* He is currently

                incarcerated at Gilmore Federal Correctional Institute in West Virginia,

                with    a    scheduled     release    date    of    August      11,    2023.”


                                            -3-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 4 of 16 PageID #: 617



           https://www.counterextremism.com/extremists/akram-musleh. Akram

           attended Brownsburg Community School Corporation, where I was the

           Student Body President from 2009-2010, the current corporate sovereign,

           and a part of the control group of the B.C.S.C. Upjohn Co. v. United States,

           449 U.S. 383, 388-9 and 393 (1981) (“zone of silence;” “control group;” and

           “substantial role”).

        2. The F.B.I.’s and DOJ’s use of the Iman was unconstitutional as religious

           authority figures, such as Imans, are assumed terrorists in accord with the

           Framers of the United States Constitution. Dkt. 140 at 42 ("he was not

           dissuaded by the intercession of at least one local Imam who, as noted below,

           cautioned MUSLEH to avoid the “devil group” ISIS.”) (It’s like saying to someone

           who is presumed to be mentally disabled go for it.). In turn, the F.B.I. used a

           counterproductive measure by bringing in an Imam. Id. For this reason,

           Akram sentence should be reduced as time served, and any supervised

           release be done in different state. Dkt. 140 at 42

        3. The F.B.I.’s and DOJ’s use of an Iman is also an unconstitutional burden on

           Akram’s religion, presuming he is guilty as charged, which was to join ISIS.

           42 U.S.C. §§ 2000bb-3(a). The United States has not carried its burden on

           showing why the use of Iman, possibly of a different sect and race than

           Akram, was appropriate. For this reason, Akram sentence should be

           reduced as time served, and any supervised release be done in different

           state.

        4. Under Sharia, I am a Caliph, and I know the Iman acted repugnantly to the

           United States Constitution and without my permission. Therefore, for this




                                         -4-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 5 of 16 PageID #: 618



           reason, Akram sentence should be reduced as time served, and any

           supervised release be done in different state.

        5. For the Iman, Akram is a cultural sacrifice. Therefore, for this reason, Akram

           sentence should be reduced as time served, and any supervised release be

           done in different state.

        6. The act on Akram and my corporation was a constitutionally repugnant

           White-supremacy-sponsored attack on my status, image (that a terrorist can

           be there at B.C.S.C., Seated in Hendricks County, Indiana), and corporation.

           U.S. const. art. IV, § 2 & amend. XIV. The F.B.I. and D.O.J. under our

           Ordered Liberty should have communicated with me. Id. This is more an

           effort to paint as weak and political ineligible to become the President of

           the United States, although a demotion, assumed by the Founders and

           Framers, his honor’s powers may not violate My Excellency. Id. & U.S.

           const. amend IX. The United States has not carried its burden on showing

           why the use of Iman, possibly of a different sect and race than Akram, was

           appropriate.

        7. If Akram was a Black-Muslim (1/5 to 1/3 of the Black population), he

           would not be in this situation and probably not forcefully and involuntarily

           exposed to a Iman. Therefore, for this reason, Akram sentence should be

           reduced as time served, and any supervised release be done in different

           state.

        8. This is personal to my Ordered Liberties, as the most powerful T.E. T.E. as

           authoritatively permissive, as well because since they could not put in this

           perilous situation, they –– that is a force known to The Harvard [University]

           Corporation which wants to terroristically fight me on being the oldest


                                         -5-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 6 of 16 PageID #: 619



           corporation in the Western Hemisphere –– went for Akram.             Dumb

           deforms; missed aborations; lessers; and middle-class; whose interests are

           to displace me on the Ordered hierarchy. U.S. const. amend. I & amend.

           XIV. Therefore, for this reason, Akram sentence should be reduced as time

           served, and any supervised release be done in different state.

        9. The status quo is not beyond a reasonable doubt or even clear and

           convincing.

     Therefore, may this court grant my motion for intervention or grant my letter.



                         Respectfully submitted,



                         /s/ Raj K. Patel
                         T.E., T.E. Raj K. Patel (pro se)
                         6850 East 21st Street
                         Indianapolis, IN 46219
                         Marion County
                         317-450-6651 (cell)
                         rajp2010@gmail.com
                         www.rajpatel.live



                         President/Student Body President, Student Gov’t Ass’n of
                            Emory U., Inc. 2013-2014 (corp. sovereign 2013-present)
                         Student Body President, Brownsburg Cmty. Sch.
                            Corp./President, Brownsburg High Sch. Student Gov’t
                            2009-2010 (corp. sovereign 2009-present)
                         Rep. from the Notre Dame L. Sch. Student B. Ass’n to the Ind.
                            St. B. Ass’n 2017
                         Deputy Regional Director, Young Democrats of Am.-High
                            Sch. Caucus 2008-2009
                         Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
                            2010
                         Vice President of Fin. (Indep.), Oxford C. Republicans of
                            Emory U., Inc. 2011-2012

                         Intern, Jill Long Thompson for Governor (2008)


                                         -6-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 7 of 16 PageID #: 620




                       Volunteer, Barack Obama for Am. (2008)

                       Intern, Marion Cnty. Clerk Elizabeth “Beth” White for Sec’y
                           of St. of the St. of Ind. (2014)

                       Former J.D. Candidate, Notre Dame L. Sch.




                                     -7-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 8 of 16 PageID #: 621



                            CERTIFICATE OF SERVICE

I certify that I served a copy of the foregoing Motion for Intervention on 03/9/2023 to
below individuals via e-mail:


Bradley Paul Shepard
UNITED STATES ATTORNEY'S OFFICE
10 West Market Street
Suite 2100
Indianapolis, IN 46204
317-226-6333
Fax: (317) 226-6125
Email: brad.shepard@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Joe Howard Vaughn
UNITED STATES ATTORNEY'S OFFICE
10 West Market Street
Suite 2100
Indianapolis, IN 46204
(317) 229-2447
Fax: (317) 226-6125
Email: joe.vaughn@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Matthew Rinka
UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
10 West Market Street
Suite 2100
Indianapolis, IN 46204
(317) 229-2865
Email: matthew.rinka@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Paul Gerard Casey
UNITED STATES DEPARTMENT OF JUSTICE
National Security Division
600 E St. NW


                                         -8-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 9 of 16 PageID #: 622




Room 4073
Washington, DC, DC 20004
202-307-3205
Fax: 202-514-8714
Email: paul.casey2@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Steven D. DeBrota
UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
10 West Market Street
Suite 2100
Indianapolis, IN 46204
317-226-6333
Fax: (317) 226-6125
Email: steve.debrota@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney



                              Respectfully submitted,



                              /s/ Raj Patel
                              T.E., T.E. Raj K. Patel (Pro Se)
                              6850 East 21st Street
                              Indianapolis, IN 46219
                              Marion County
                              317-450-6651 (cell)
                              rajp2010@gmail.com
                              www.rajpatel.live


Dated: March 9, 2023
                                      Code
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 10 of 16 PageID #: 623



               IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF INDIANA


 UNITED STATES OF AMERICA,
                                                 Filing Bar: 22-mc-24-TWP
                                     Plaintiff
                                                 No. 1:16-cr-0190-SEB-MJD-01
          v.
                                                 Magistrate judge case number: 1:16-mj-
 AKRAM I. MUSLEH                                 00444-TAB


                                   Defendant Dated: March 9, 2023


                     PLAINTIFF (PRO SE)-RAJ K. PATEL’S
                  MOTION FOR LEAVE TO FILE INTERVENTION

       I, T.E., T.E Mr. Raj K. Patel, from the basis of the United States, the undersigned

intervenor, in the above-named case, hereby move for leave to file a Motion for

Intervention and Letter, in the interest of protecting the United States Constitution and

our Ordered Liberty:

   SUBSTANTIVE DUE PROCESS & PRIVILEGES AND IMMUNITIES CLAUSE

       I use my Constitutional Privileges, honors, and rights of knowing from my

undergraduate (Political Science and with Honors in Religion/Religious Studies) and law

school, juris doctor candidacy, educations, and political offices and from reading law

outside of formal schooling for the writing and discussions, arguments, and motions of

these filings, and my presumptions of regularity from my political offices, see

Certification of Interest. Hollingsworth v. Perry, 133 S. Ct. 2652, 2667, 2670-72 (U.S. 2013)

(“unique legal status”).

       The case is a part of State affairs from each of my capacities working alone and

together in permutations.     Poindexter v. Greenhow, 114 U.S. 270, 290 (1884) (“the

distinction between the government of a State and the State itself is important, and [shall]



                                            -1-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 11 of 16 PageID #: 624



be observed.”) (underline added) and Id. at 290 (“in common speech,…to say “L'État c'est

moi.””).

       But for the perils, which execrated each fold in October 2013, May 2014, August

2015, and July 2017, through the stress weapon, Patel would have passed a court-

approved bar exam. See Patel v. United States, No. 23-1325 (Fed. Cir. 202_).

       Plaintiff-Patel has the Constitutional privilege of Morally carrying a gun without

a permit and without background checks, as his excellency his excellency is a Basis, local

official. Printz v. United States, 521 U.S. 898, 918 (1997) quoting Principality of Monaco

v. Mississippi, 292 U.S. 313, 322 (1934). Federalist Nos. 42 & 80. This is because a

privilege once attained can never be taken away, cf. the term-in-office limit is to prevent

the effects of monarchy; as applied, Patel would be able to carry a gun on campus and in

classrooms under his constitutional privileges, including to enforce this court’s

opinion. Our Framers envisioned this because the Basis provides fundamental and

essential checks on the Seat, which is created by us the State, including the Military.

https://www.comparably.com/salaries/salaries-for-us-army-general (“The salaries of

Us [sic] Army Generals in the US range from $19,208 to $521,331, with a median salary of

$93,762. The middle 57% of Us Army Generals makes between $93,765 and $236,104, with

the top 86% making $521,331.”) (therefore, making more than the POTUS and Dr.

Fauci). The title The Excellent also means that the Constitution permissively approves

me for commercial and monetary success for Patel’s level in the state-military-political

hierarchy.   In other words, our Framers envisioned that the Basis would plead

the judiciary under our Ordered Liberty. U.S. const. amend. V & amend. XIV. Printz,

521 U.S. at 918 quoting Principality of Monaco, 292 U.S. at 322. Federalist Nos. 42 & 80.

The United States (a part of), through ones of its control group, can also be aiding in

making me politically ineligible, despite my high levels of favorability, well-likeness, and


                                            -2-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 12 of 16 PageID #: 625



approval, to run for the Presidency which I have always strived for. Upjohn Co. v. United

States, 449 U.S. 383, 388-9 and 393 (1981) (“zone of silence;” “control group;” and

“substantial role”). Loosing this case will also make me, a leader of the United States

rather than any sister state, appear weak, in the most “degrad[ing]” and “demean[ing]”

proscribed ways, and aid the Constitution’s opposition, per the court is to use its

jurisdiction in favor of the parties before it. U.S. const. art. IV, § 2 (applicable to states

and the United States) & amend. XIV (applicable to states and the United States; “citizens

of the United States”); United States v. Windsor, 570 U.S. 744, 792-93 (2013) (““the Fifth

Amendment itself withdraws from Government the power to degrade or demean in the

way this law does.”...The only possible interpretation of this statement is that the Equal

Protection Clause, even the Equal Protection Clause as incorporated in the Due Process

Clause, is not the basis for today’s holding.”); Hollingsworth v. Perry, 133 S. Ct. 2652,

2667, 2670-72 (U.S. 2013) (“unique legal status”); U.S. Term Limits, Inc. v. Thornton, 514

U.S. 779, 844-45 (1995); Bridges v. California, 314 U.S. 252, 282 (1941); and see also Ind.

const. art. I, § 1.

                                       DISCUSSION

            1. Allowing the filing of the letter will be sensitive to Akram’s due process

                rights and my First Amendment rights.

            2. I bring my legal and political and educational knowledge into the proposed

                filing.

            3. I would have filed this motion earlier but for my weapon-induced stress,

                and the related complaints have caused a filing bar. In Re Raj K. Patel, No.

                22-mc-24-TWP (S.D.I.N. 202_).

            4. I will not be the only one to file a Motion for Intervention or Letter.




                                             -3-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 13 of 16 PageID #: 626



          5. The Plaintiff is accused of trespass. Upjohn Co. v. United States, 449 U.S.

              383, 388-9 and 393 (1981) (“zone of silence;” “control group;” and

              “substantial role”).

          6. The status quo is not beyond a reasonable doubt or even clear and

              convincing.

       Therefore, I move Chief Judge Pratt to allow the filing of the attached Motion for

Intervention or letter.



                            Respectfully submitted,



                            /s/ Raj K. Patel
                            T.E., T.E. Raj K. Patel (pro se)
                            6850 East 21st Street
                            Indianapolis, IN 46219
                            Marion County
                            317-450-6651 (cell)
                            rajp2010@gmail.com
                            www.rajpatel.live




                            President/Student Body President, Student Gov’t Ass’n of
                               Emory U., Inc. 2013-2014 (corp. sovereign 2013-present)
                            Student Body President, Brownsburg Cmty. Sch.
                               Corp./President, Brownsburg High Sch. Student Gov’t
                               2009-2010 (corp. sovereign 2009-present)
                            Rep. from the Notre Dame L. Sch. Student B. Ass’n to the Ind.
                               St. B. Ass’n 2017
                            Deputy Regional Director, Young Democrats of Am.-High
                               Sch. Caucus 2008-2009
                            Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
                               2010
                            Vice President of Fin. (Indep.), Oxford C. Republicans of
                               Emory U., Inc. 2011-2012

                            Intern, Jill Long Thompson for Governor (2008)



                                            -4-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 14 of 16 PageID #: 627



                       Volunteer, Barack Obama for Am. (2008)

                       Intern, Marion Cnty. Clerk Elizabeth “Beth” White for Sec’y
                           of St. of the St. of Ind. (2014)

                       Former J.D. Candidate, Notre Dame L. Sch.




                                     -5-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 15 of 16 PageID #: 628



                            CERTIFICATE OF SERVICE

I certify that I served a copy of the foregoing Motion for Intervention on 03/9/2023 to
below individuals via e-mail:


Bradley Paul Shepard
UNITED STATES ATTORNEY'S OFFICE
10 West Market Street
Suite 2100
Indianapolis, IN 46204
317-226-6333
Fax: (317) 226-6125
Email: brad.shepard@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Joe Howard Vaughn
UNITED STATES ATTORNEY'S OFFICE
10 West Market Street
Suite 2100
Indianapolis, IN 46204
(317) 229-2447
Fax: (317) 226-6125
Email: joe.vaughn@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Matthew Rinka
UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
10 West Market Street
Suite 2100
Indianapolis, IN 46204
(317) 229-2865
Email: matthew.rinka@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Paul Gerard Casey
UNITED STATES DEPARTMENT OF JUSTICE
National Security Division
600 E St. NW


                                         -6-
Case 1:22-mc-00024-TWP Document 14 Filed 03/09/23 Page 16 of 16 PageID #: 629




Room 4073
Washington, DC, DC 20004
202-307-3205
Fax: 202-514-8714
Email: paul.casey2@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Steven D. DeBrota
UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
10 West Market Street
Suite 2100
Indianapolis, IN 46204
317-226-6333
Fax: (317) 226-6125
Email: steve.debrota@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney



                              Respectfully submitted,



                              /s/ Raj Patel
                              T.E., T.E. Raj K. Patel (Pro Se)
                              6850 East 21st Street
                              Indianapolis, IN 46219
                              Marion County
                              317-450-6651 (cell)
                              rajp2010@gmail.com
                              www.rajpatel.live


Dated: March 9, 2023
                                      Code
